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                                                                             AUG 2 2 2023         -J
 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK
                                                    -X               p =10 SE OFFICE
 CHRISTOPHER SAMUEL,

                               Plaintiff,
                                                            ACKNOWLEDGEMENT OF
                                                            ASSIGNMENT OF JUDGMENT
                     V.


 EVE ARON,                                                  No. 19-CV-5229(MKB)(TAM)


                              Defendant.

                                                    ■X

            ACKNOWLEDGEMENT OF ASSIGNMENT OF JUDGMENT:


       COMES NOW CHRISTOPHER SAMUEL, Plaintiff and Creditor in this matter, and

 hereby provides the following in support of an ASSIGNMENT OF JUDGMENT:

       1) THAT the judgment was entered in this Court on Deeember 28, 2022.

       2) THAT Plaintiff was awarded the total amount of $48,972.33 against Defendant

          EVE ARON.


       3) THAT there have been no renewals since the entry of said judgment and that

          Plaintiff has received $0.00 of judgment from judgment debtor.

       4) CHRISTOPHER SAMUEL, whose address is 282 East SS"" Street Apt 4H,

          Brooklyn, NY 11203, is the judgment creditor of record.

       5) THAT the last address of record for EVE ARON, judgment debtor, is 5416 Medina

          Rd, Woodland Hills, CA 91364.

       6) THAT I, CHRISTOPHER SAMUEL, judgment creditor, hereby irrevocably

          transfer, and assign all title, rights, and interest in the judgment to the following

          person:




                                                1
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        JAMES E. SHELTON
        316 Covered Bridge Road
        King ofPrussia,PA 19406

        7)THAT Assignor acknowledges that this is an absolute assignment without recourse

 and that the rights represented by this judgment that are assigned to the assignee, James E.

 Shelton are all ofthe assignor's rights, title and interest in thejudgment awarded in the above-

 entitled action. This is an absolute assignment for the full amount ofthe judgment with

 allowed costs and accrued interest thereon at the legal rate from and after the date of entry of

 this judgment.

        8)THAT I hereby irrevocably assign to and authorize Assignee, JAMES E.

 SHELTON,to recover, compromise, settle and enforce said judgment at his discretion.

        9)James E. Shelton, 316 Covered Bridge Road,King ofPrussia,PA 19406, is now the

 holder and owner ofthe Judgment,



 Signed this          .dayof                        .2023.




                  CHRISTOTHER SAMUE)
                  Original JudgmentCreditf



                              SEE NOTARIZATION ATTACHED
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                              Notary Acknowledgement Form



 State of:              ^ovk               )
                                             )ss.:
 County of: kin^ S                         )
 On the              day of A(iA^usi                 in the year   3^^^          before me,the
 undersigned notary public, personally appeared                              ^yiw\vL€^\ ,
 personally known to me or proved to me on the basis of satisfactory evidence to be the
 individual(s) whose name(s)is (are)subscribed to the within instrument and acknowledged to
 me that he/she/they executed the same in his/her/their capacity(ies), and that by his/her/their
 signature(s) on the instrument, the individual(s), or the person upon behalf of which the
 individual(s) acted, executed the instrument.




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